
ON PETITION FOR REHEARING
HOBSON, Judge.
The original record on appeal showed that the appellant was attempting to appeal an unsigned minute book entry and therefore under the authority of Egantoff v. Herring, Fla.App.1965, 177 So.2d 260, we dismissed the appeal ex mero motu.
The petition for rehearing shows that the original record on appeal which contained the unsigned minute book entry was in error and, in fact, the minute book entry which was appealed was signed.
We grant the petition for rehearing and determine the appeal on its merits.
The appellant-plaintiff appeals a judgment entered on a jury verdict in favor of the defendants. The judgment comes to this appellate court clothed with a presumption of correctness and the appellant has the burden of showing reversible error. Appellant having failed to show reversible error, the final judgment is affirmed.
ALLEN, C. J., and HOBSON, T. FRANK, Sr., Associate Judge, concur.
